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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION
____________________________________
                                     )
In re:                               )
                                     )
MARK A. RICHARDS,                   )  CASE NO. 11-51844-WLH
                                     )
       Debtor.                       )
____________________________________)  CHAPTER 7
                                     )
In re:                               )
                                     )
MARK A. RICHARDS,                   )
                                     )
       Debtor/Movant,                )
                                     )
v.                                   )
                                     )
BANK OF AMERICA, N.A.,               )
CARRINGTON MORTGAGE                 )
SERVICES, LLC, and BANKUNITED, )
N.A.,                               )
                                     )
                                     )
       Respondents.                 )
____________________________________)

                   CARRINGTON MORTGAGE SERVICES, LLC’S
                  MOTION FOR EXTENSION OF TIME TO RESPOND

       Carrington Mortgage Services, LLC (“Carrington”), pursuant to Fed. R. Bankr. P.

9006(b)(1), respectfully moves this Court for an extension of time through and including May 1,

2020, to respond to Debtor Mark A. Richards’ (“Debtor”) Motion for Contempt, Return of

Debtor’s Funds And to Set Aside Certain Real Estate Transactions, filed on March 16, 2020 (the

“Motion”), and in support states as follows:

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       1.      On or around March 23, 2020, Carrington received notice of Plaintiff’s Motion,

which seeks certain extraordinary relief including, inter alia, setting aside prior loan modifications,

ordering the return of mortgage payments, affirmative damages, and sanctions. (Doc. No. 31).

       2.      Although captioned and styled in what appears to be an adversary proceeding, no

such adversary complaint has been filed by Debtor. Nor has Debtor requested this Court reopen

the current case so that he can file any pleading seeking affirmative relief, such as the Motion.

       3.      It is unclear in this District whether a motion to re-open the case must be filed prior

to seeking affirmative relief as Debtor attempts to do here.

       4.      Therefore, out of an abundance of caution, Carrington respectfully requests

additional time through and including May 1, 2020, to file a response to the Motion, or respond as

otherwise directed by the Court.

       5.      The requested extension of time is not sought for purposes of harassment or delay,

and this Carrington’s first request for extension of time in this case.

       6.      Pursuant to Fed. R. Bankr. P. 9006(b)(1), Carrington respectfully requests that the

Court in its discretion and for cause shown extend any deadline for Carrington to respond to

Debtor’s Motion for Contempt, Return of Debtor’s Funds And to Set Aside Certain Real Estate

Transactions through and including May 1, 2020.

       Dated this 2nd day of April, 2020.

                                                        HOLLAND & KNIGHT LLP

                                                         /s/ Grant Edward Lavelle Schnell
                                                         Grant Edward Lavelle Schnell
                                                         Georgia Bar No. 106794




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                                             LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted the foregoing CARRINGTON

MORTGAGE SERVICES, LLC’S MOTION FOR EXTENSION OF TIME TO RESPOND

to the Clerk of Court using the CM/ECF system which will automatically send electronic mail

notification of such filing to counsel of record who are CM/ECF system participants, and mailed

a paper copy of same mailed by the United States Postal Service, first-class, postage prepaid, to

parties and counsel of record who are non-CM/ECF participants, properly addressed upon:

                                      Mark A. Richards
                                   1861 Windsonr Creek Dr.
                                     Conyers, GA 30094

                                      Via U.S. Mail Only

       This 2nd day of April, 2020.

                                                      HOLLAND & KNIGHT LLP

                                                      /s/ Grant Edward Lavelle Schnell
                                                      Grant Edward Lavelle Schnell
                                                      Georgia Bar No. 106794




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